A devise of lands to an alien is void. These lands could not have been confiscated as belonging by devise to the alien; the devisor died without heir; the devise operated nothing; the lands, therefore, escheated, and the trustees are entitled to recover.
Verdict and judgment accordingly. *Page 104 
NOTE. — See Gilmour v. Kay, post, 108, but see Miller v. Harwell,7 N.C. 194, which intimates that an alien may take by devise, but that he does not hold for his own benefit. An alien, however, cannot take by descent, curtesy, dower, or other title derived merely from the operation of law. Paul v. Ward, 15 N.C. 247. See, also, Atkins v. Kron, 37 N.C. 64.